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                           UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF LOUISIANA

IN RE: TAXOTERE (DOCETAXEL)                         MDL NO. 2740
PRODUCTS LIABILITY LITIGATION
                                                    SECTION “N” (5)

                                                    JUDGE MILAZZO
                                                    MAG. JUDGE NORTH

                                                    PLAINTIFF’S MOTION FOR LEAVE
                                                    TO FILE AN AMENDED COMPLAINT


THIS DOCUMENT RELATES TO:                           Civil Action No.: 2:17-cv-16966-JTM-MBN

THELMA FORD v. SANOFI US SERVICES
INC, ET AL.


 NOTICE OF SUBMISSION OF PLAINTIFF’S MOTION FOR LEAVE TO
                         FILE AN AMENDED COMPLAINT

       PLEASE TAKE NOTICE that Plaintiff’s Motion for Leave to File Amended Short Form

Complaint is hereby set for submission before District Court Milazzo on August 16, 2023, at 9:30

a.m.

Dated July 6, 2023.
                                                   BACHUS & SCHANKER, LLC
                                                   By: /s/ J. Christopher Elliott
                                                   J. Christopher Elliott, Esq.
                                                   Bachus & Schanker, LLC
                                                   950 17th Street, Suite 1050
                                                   Denver, CO 80202
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                                                   Email: celliott@coloradolaw.net
                                                   Attorney for Plaintiff




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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 6, 2023, I electronically filed the foregoing with the Clerk of

Court by using the CM/ECF system which will send a notice of electronic filing to all counsel of

record who are CM/ECF participants. I further certify that I mailed the foregoing document and

the notice of electronic filing by first-class mail to all counsel of record who are non-CM/ECF

participants.

                                             s/J. Christopher Elliott

                                             J. Christopher Elliott, Esq.




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